
The president pronounced the courts opinion.
The court is of opinion, that, under the authority of the case of Bartley &amp; Ferguson v. Yates, (2 H. &amp; M. 398,) and on general principles, the bond in the record is a sufficient bond under the act of assembly. /The judgment of the District Court is therefore reversed ; but there being no bill of exceptions making the notice, stated in the record, a part thereof; and it not appearing by the judgment of the District Court, that the appellees had notice of the motion, or appeared in the court below, the cause is to be sent back to the Superior Court of Monroe County, that the plaintiff may-have an opportunity to prove his notice, and the defendants to make any defence thereto, which their case, according to law, may admit of.
